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LaMonica Herbst & Maniscalco, LLP                     Presentment Date: April 5, 2022 at 12:00 p.m.
Counsel for the Chapter 7 Trustee                     Objection Due Date: March 31, 2022 by 5:00 p.m.
3305 Jerusalem Avenue, Suite 201
Wantagh, New York 11793
Telephone: 516.826.6500
Jacqulyn S. Loftin, Esq.
Cristina M. Lipan, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                      x

In re:                                                                 Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                        Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                       Debtor.
                                                     x

           NOTICE OF PRESENTMENT OF THE STIPULATION AND ORDER
           BETWEEN TRUSTEE AND MANTECH SRS TECHNOLOGIES, INC.

         PLEASE TAKE NOTICE that, on April 5, 2022 at 12:00 p.m., Salvatore LaMonica,

solely in his capacity as the Chapter 7 Trustee (“Trustee”) of the bankruptcy estate (“Estate”) of

BMT Designers & Planners, Inc., fdba BMT D&P, fdba BMT fdba BMT DAS US (“Debtor”), by

and through his counsel, LaMonica Herbst & Maniscalco, LLP, will present the stipulation and

proposed Order (“Stipulation”) by and between the Trustee, on behalf of the Estate, and ManTech

SRS Technologies, Inc. (“ManTech”), to reject the Debtor Contract (defined therein) and for

related relief, a copy of which is annexed hereto, to the Honorable Martin Glenn, United States

Bankruptcy Chief Judge, United States Bankruptcy Court, Southern District of New York,

Courtroom 617, One Bowling Green, New York, New York 10004 (“Court”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the Stipulation must be

in writing, conform with the Title 11 of the United States Code and Federal Rules of Bankruptcy

Procedure, state with particularity the grounds therefor and be filed with the Court, with a courtesy

copy to the Chambers of the Honorable Martin Glenn, United States Bankruptcy Chief Judge, and
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served upon, so as to be received by, LaMonica Herbst & Maniscalco, LLP, the counsel for the

Trustee, Attn: Jacqulyn S. Loftin, Esq., no later than March 31, 2022 by 5:00 p.m. (“Objection

Deadline”) as follows: (i) through the Court’s electronic filing system, which may be accessed

through the internet at the Court’s website at www.nysb.uscourts.gov, in portable document format

(PDF) using Adobe Exchange Software for conversion; or (ii) if a party is unavailable to file

electronically, such party shall submit the objection in PDF format on a compact disc in an

envelope with the case name, case number, type and title of document, document number to which

the objection refers and the file name on the outside of the envelope.

       PLEASE TAKE FURTHER NOTICE that, if no objections to the Stipulation are filed

by the Objection Deadline, the Court may so-order the Stipulation annexed hereto.

       PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, a hearing will

be scheduled by the Court.

 Dated: March 17, 2022                       LaMONICA HERBST & MANISCALCO, LLP
        Wantagh, New York                    Counsel to Salvatore LaMonica, Trustee

                                       By: s/ Jacqulyn S. Loftin
                                           Jacqulyn S. Loftin, Esq.
                                           Cristina M. Lipan, Esq.
                                           3305 Jerusalem Avenue, Suite 201
                                           Wantagh, New York 11793
                                           Telephone: 516.826.6500
